      Case 4:22-cv-03031-HSG Document 29 Filed 12/21/23 Page 1 of 8




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 9
     [Additional Counsel Appear on Signature Page]
10
                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
12    NAREN SURI, Derivatively on Behalf of          Case No. 4:22-cv-3031-HSG
      C3.AI, INC.,
13                                                   STIPULATION AND ORDER AS
                            Plaintiff,               MODIFIED CONSOLIDATING
14                                                   RELATED SHAREHOLDER
                      v.                             DERIVATIVE ACTIONS AND
15                                                   APPOINTING CO-LEAD COUNSEL
      THOMAS M. SIEBEL, PATRICIA A.
16    HOUSE, CONDOLEEZZA RICE,                       JUDGE: Hon. Haywood S. Gilliam
      RICHARD C. LEVIN, MICHAEL G.                   CTRM: 2 – 4th Floor
17    MCCAFFERY, S. SHANKAR SASTRY,
      BRUCE SEWELL, LISA A. DAVIS, JIM H.
18    SNABE, AND STEPHEN M. WARD, JR.,
19                          Defendants,
               and
20
      C3.AI, INC.,
21
                            Nominal Defendant.
22
23
24
25
26    [Caption continued on following page]
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28

     _____________________________________________________________________________________________
                           STIPULATION AND ORDER AS MODIFIED CONSOLIDATING RELATED
                     SHAREHOLDER DERIVATIVE ACTIONS AND APPOINTING CO-LEAD COUNSEL
                                             CASE NOS. 4:22-cv-3031-HSG, 4:23-cv-01566-HSG
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 1    GIUSEPPE RABASCA, Derivatively on               Case No. 4:23-cv-01566-HSG
      Behalf of Nominal Defendant C3.AI, INC.,
 2
                                 Plaintiff,
 3
                      v.
 4
      THOMAS M. SIEBEL, PATRICIA A.
 5    HOUSE, CONDOLEEZZA RICE,
      RICHARD C. LEVIN, MICHAEL G.
 6    MCCAFFERY, S. SHANKAR SASTRY,
      BRUCE SEWELL, LISA A. DAVIS, JIM H.
 7    SNABE, AND STEPHEN M. WARD, JR.,
 8                               Defendants,
 9                         and
10    C3.AI, INC.,
11                               Nominal Defendant.
12
                                                      Civil Action No: 3:23-cv-03895-HSG
13    BAONGOC T. VO, Derivatively on Behalf
      of C3.AI, INC.,
14
                      Plaintiff,
15
             vs.
16
      THOMAS M. SIEBEL, PATRICIA A.
17    HOUSE, LISA A. DAVIS, RICHARD
      LEVIN, MICHAEL G. MCCAFFERY,
18    CONDOLEEZZA RICE, S. SHANKAR
      SASTRY, BRUCE SEWELL, JIM H.
19    SNABE, STEPHEN M. WARD JR.,
      EDWARD Y. ABBO, DAVID BARTER,
20    HOUMAN BEHZADI, BRUCE
      CLEVELAND, AND BRADY
21    MICKELSEN,
22                     Defendants,
23           and,
24    C3.AI, INC.,
25           Nominal Defendant.
26
27
28

     _____________________________________________________________________________________________
                           STIPULATION AND ORDER AS MODIFIED CONSOLIDATING RELATED
                     SHAREHOLDER DERIVATIVE ACTIONS AND APPOINTING CO-LEAD COUNSEL
                                             CASE NOS. 4:22-cv-3031-HSG, 4:23-cv-01566-HSG
       Case 4:22-cv-03031-HSG Document 29 Filed 12/21/23 Page 3 of 8




 1          Plaintiffs Naren Suri and Giuseppe Rabasca (“Plaintiffs”), derivatively on behalf of C3.ai,

 2   Inc. (“C3” or the “Company”), and Defendants Thomas M. Siebel, Patricia A. House, Condoleezza

 3   Rice, Richard C. Levin, Michael G. McCaffery, S. Shankar Sastry, Bruce Sewell, Lisa A. Davis,

 4   Jim H. Snabe, and Stephen M. Ward, Jr., (together with C3, “Defendants” and collectively with

 5   Plaintiffs, the “Parties”) jointly submit this stipulation (“Consolidation Stipulation”) to consolidate

 6   the above-captioned related derivative actions and appoint co-lead counsel for plaintiffs, and in

 7   support thereof state as follows:

 8          WHEREAS, the shareholder derivative action Suri v. Siebel, et al., Case No.: 4:22-cv-

 9   03031-HSG (the “Suri Action”), was filed in this Court against Defendants on May 23, 2022, and

10   assigned to the Honorable Haywood S. Gilliam;

11          WHEREAS, a Stipulation and Order to Stay Derivative Action was entered in the Suri

12   Action on September 7, 2022 (Dkt. No. 20) (the “Stay Order”);

13          WHEREAS, the shareholder derivative action Rabasca v. Siebel, et al., Case No.: 4:23-cv-

14   01566 (“Rabasca Action”) was filed in this Court against Defendants on April 23, 2023, and

15   assigned to the Honorable Alex G. Tse;

16          WHEREAS, on May 9, 2023, the Court issued an Order reassigning the Rabasca Action

17   to the Honorable Haywood S. Gilliam;

18          WHEREAS, the shareholder derivative action Vo v. Siebel, et al., Case No.: Case 3:23-cv-

19   03895-JSC (“Vo Action”) was filed in the District Court of Delaware against Defendants on April

20   19, 2023;

21          WHEREAS, on August 3, 2023, the Vo Action was transferred to this Court and assigned

22   to the Honorable Jacqueline Scott Corley;

23          WHEREAS, on September 26, 2023, the Court issued an Order reassigning the Vo Action

24   to the Honorable Haywood S. Gilliam;

25          WHEREAS, the Suri Action, Rabasca Action and Vo Action are herein referred to as the

26   “Related Derivative Actions”.

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                         STIPULATION AND ORDER AS MODIFIED CONSOLIDATING RELATED
                   SHAREHOLDER DERIVATIVE ACTIONS AND APPOINTING CO-LEAD COUNSEL
                                           CASE NOS. 4:22-cv-3031-HSG, 4:23-cv-01566-HSG
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       Case 4:22-cv-03031-HSG Document 29 Filed 12/21/23 Page 4 of 8




 1          WHEREAS, under Fed. R. Civ. P. 42(a), when actions involve “a common question of law

 2   or fact,” the Court may “(1) join for hearing or trial any or all matters at issue in the actions; (2)

 3   consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay”;

 4          WHEREAS, the Related Derivative Actions challenge substantially the same alleged

 5   conduct by the same Company directors and executive officers, and involve substantially the same

 6   questions of law and fact;

 7          WHEREAS, the Parties respectfully submit that consolidation of the Related Derivative

 8   Actions is appropriate, and that they should be consolidated for all purposes, including pre-trial

 9   proceedings and any trial, to avoid potential duplication, and to prevent waste of the Court’s and

10   the Parties’ resources;

11          WHEREAS, in order to realize the efficiencies made possible by consolidation of the

12   Related Derivative Actions, Plaintiffs agree that the law firms Gainey, McKenna & Egleston and

13   Rigrodsky Law, P.A., the respective resumes of which are attached hereto as Exhibits A and B,

14   shall be designated as Co-Lead Counsel representing Plaintiffs in the consolidated action;

15          WHEREAS, Defendants take no position on the appointment of Co-Lead Counsel;

16          WHEREFORE, pursuant to Civil L.R. 7-12, the Parties, through their undersigned counsel,

17   hereby agree, stipulate, and respectfully request that the Court enter an order as follows:

18          1.      Defendants accept service of the complaints in the Related Derivative Actions to

19   the extent that service has not yet been perfected on any Defendant.

20          2.      The following actions are hereby consolidated for all purposes, including pre-trial

21   proceedings, trial, and appeal, under Case No: 4:22-cv-03031-HSG (hereinafter, the “Consolidated

22   Action”):

23          Case Name                       Case Number                            Date Filed

24          Suri v. Siebel, et al.          4:22-cv-03031-HSG                      May 23, 2022

25          Vo v. Seibel, et al.            3:23-cv-3895-HSG                       April 19, 2023

26          Rabasca v. Siebel, et al.       4:23-cv-01566-HSG                      April 23, 2023

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                         STIPULATION AND ORDER AS MODIFIED CONSOLIDATING RELATED
                   SHAREHOLDER DERIVATIVE ACTIONS AND APPOINTING CO-LEAD COUNSEL
                                           CASE NOS. 4:22-cv-3031-HSG, 4:23-cv-01566-HSG
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 1          3.      Every pleading filed in the Consolidated Action, or in any separate action included
 2   herein, must bear the following caption:
 3
                            IN THE UNITED STATES DISTRICT COURT
 4                           NORTHERN DISTRICT OF CALIFORNIA
 5
      IN RE C3.AI, INC. DERIVATIVE                        Lead Case No. 4:22-cv-03031-HSG
 6    LITIGATION
 7
 8    This Document Relates to:

 9                      ALL ACTIONS

10
11          4.      All papers filed in connection with the Consolidated Action will be maintained in

12   one file under Lead Case No. 4:22-cv-03031-HSG.

13          5.      Co-Lead Counsel for Plaintiffs for the conduct of the Consolidated Action shall be:

14                                  GAINEY McKENNA & EGLESTON
                                    Thomas J. McKenna
15                                  Gregory M. Egleston
                                    501 Fifth Avenue, 19th Floor
16                                  New York, NY 10017
                                    Telephone: (212) 983-1300
17                                  Facsimile: (212) 983-0383
                                    tjmckenna@gme-law.com
18                                  gegleston@gme-law.com

19                                  RIGRODSKY LAW, P.A.
                                    Timothy J. MacFall
20                                  825 East Gate Boulevard, Suite 300
                                    Garden City, NY 11530
21                                  Telephone: (516) 683-3516
                                    tjm@rl-legal.com
22
            6.      Co-Lead Counsel shall have the sole authority to speak for plaintiffs in all matters
23
     regarding pre-trial procedure, trial, and settlement negotiations and shall make all work
24
     assignments in such manner as to facilitate the orderly and efficient prosecution of this litigation
25
     and to avoid duplicative or unproductive effort.
26
            7.      Co-Lead Counsel shall be responsible for coordinating all activities and
27
     appearances on behalf of Plaintiffs. No motion, request for discovery, or other pre-trial or trial
28
     _____________________________________________________________________________________________
                         STIPULATION AND ORDER AS MODIFIED CONSOLIDATING RELATED
                   SHAREHOLDER DERIVATIVE ACTIONS AND APPOINTING CO-LEAD COUNSEL
                                           CASE NOS. 4:22-cv-3031-HSG, 4:23-cv-01566-HSG
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       Case 4:22-cv-03031-HSG Document 29 Filed 12/21/23 Page 6 of 8




 1   proceedings will be initiated or filed by any Plaintiffs except through Co-Lead Counsel.

 2          8.      Defendants’ counsel may rely upon all agreements made with Co-Lead Counsel, or
 3   other duly authorized representative of Co-Lead Counsel, and such agreements shall be binding
 4   on all Plaintiffs in the Consolidated Action.
 5          9.      This Order shall apply to each related shareholder derivative action involving the
 6   same or substantially the same allegations, claims, and defendants, and arising out of the same, or
 7   substantially the same, transactions or events as the Consolidated Action, that is subsequently filed
 8
     in, removed to, reassigned to, or transferred to this Court. When a shareholder derivative action
 9
     that properly belongs as part of In re C3.ai, Inc. Derivative Litigation, Lead Case No. 4:22-cv-
10
     03031-HSG, is hereafter filed in this Court, removed to this Court, reassigned to this Court, or
11
     transferred to this Court from another court, this Court requests the assistance of counsel in calling
12
     to the attention of the Clerk of the Court the filing, removal, reassignment, or transfer of any case
13
     that might properly be consolidated as part of In re C3.ai, Inc. Derivative Litigation, Lead Case
14
     No. 4:22-cv-03031-HSG, and counsel to the Parties are to assist in assuring that counsel in
15
     subsequent actions receive notice of this order. Unless otherwise ordered, the terms of all orders,
16
17   rulings, and decisions in the Consolidated Action shall apply to all later shareholder derivative

18   actions filed in this Court, removed to this Court, reassigned to this Court, or transferred to this

19   Court from another court.

20          10.     All papers and documents previously filed and/or served in the Related Derivative

21   Actions shall be deemed a part of the record in the Consolidated Action, including the Stay Order
22   entered in the Suri Action on September 7, 2022.
23          11.     The Consolidated Action shall, therefore, be stayed subject to the same terms and
24   conditions set forth in the Stay Order. The application of all of the provisions of the Stay Order to
25   the Consolidated Action is a precondition to Defendants’ consent to the terms of this stipulation.
26          12.     This Consolidation Stipulation is without waiver or prejudice to all claims,
27
     defenses, arguments, motions, or any requests for other relief that would otherwise be available to
28
     _____________________________________________________________________________________________
                         STIPULATION AND ORDER AS MODIFIED CONSOLIDATING RELATED
                   SHAREHOLDER DERIVATIVE ACTIONS AND APPOINTING CO-LEAD COUNSEL
                                           CASE NOS. 4:22-cv-3031-HSG, 4:23-cv-01566-HSG
                                                                                                       -4-
       Case 4:22-cv-03031-HSG Document 29 Filed 12/21/23 Page 7 of 8




 1   the Parties in the Related Derivative Actions.
 2    IT IS SO STIPULATED.
 3    DATED: December 1, 2023                MAGNANIMO DEAN LAW, APC
 4                                          /s/ Lauren A. Dean
                                            Lauren A. Dean, Esq. (SBN 174722)
 5                                          5850 Canoga Avenue, Suite 400
                                            Woodland Hills, CA 91367
 6                                          Tel: (818) 305-3450
                                            lauren@magdeanlaw.com
 7
 8                                           Thomas J. McKenna
                                             Gregory M. Egleston
 9                                           GAINEY McKENNA & EGLESTON
                                             501 Fifth Avenue, 19th Fl.
10                                           New York, NY 10017
                                             Tel: (212) 983-1300
11                                           Fax: (212) 983-0383
12                                           tjmckenna@gme-law.com
                                             egleston@gme-law.com
13
                                             Attorneys for Plaintiff Naren Suri
14
      DATED: December 1, 2023                WOLF HALDENSTEIN ADLER
15                                            FREEMAN & HERZ LLP
16                                           /s/ Betsy C. Manifold
                                             Betsy C. Manifold (182450)
17                                           Rachele R. Byrd (190634)
                                             Alex J. Tramontano (276666)
18                                           Ferdeza Zekiri (335507)
                                             750 B Street, Suite 1820
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                                             Telephone: (619) 239-4599
20                                           Facsimile: (619) 234-4599
                                             manifold@whafh.com
21                                           byrd@whafh.com
                                             tramontano@whafh.com
22                                           zekiri@whafh.com
23                                           Timothy J. MacFall (admitted pro hac vice)
                                             RIGRODSKY LAW, P.A.
24                                           825 East Gate Boulevard, Suite 300
                                             Garden City, NY 11530
25                                           Tel.: (516) 683-3516
                                             tjm@rl-legal.com
26
                                             Attorneys for Plaintiff Giusseppe Rabasca
27
28
     _____________________________________________________________________________________________
                         STIPULATION AND ORDER AS MODIFIED CONSOLIDATING RELATED
                   SHAREHOLDER DERIVATIVE ACTIONS AND APPOINTING CO-LEAD COUNSEL
                                           CASE NOS. 4:22-cv-3031-HSG, 4:23-cv-01566-HSG
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       Case 4:22-cv-03031-HSG Document 29 Filed 12/21/23 Page 8 of 8




 1    DATED: December 1, 2023                QUINN EMANUEL URQUHART
                                              SULLIVAN LLP
 2
 3                                           /s/ Harry Arthur Olivar, Jr.
                                             Harry Arthur Olivar, Jr.
 4                                           865 South Figueroa Street, 10th Floor
                                             Los Angeles, CA 90017-2543
 5                                           Telephone: 213-443-3000
                                             harryolivar@quinnemanuel.com
 6
                                             Michael B. Carlinsky (pro hac vice forthcoming)
 7                                           Jacob J Waldman (admitted pro hac vice)
                                             QUINN EMANUEL URQUHART
 8                                             SULLIVAN LLP
                                             51 Madison Avenue
 9                                           Ste 22nd Floor
                                             New York, NY 10010
10                                           Telephone: 212-849-7173
                                             Fax: 212-849-7100
11                                           jacobwaldman@quinnemanuel.com
12                                           Attorneys for Defendants
13
14
                                             ATTESTATION
15          Pursuant to Civil Local Rule 5-1(h)(3), all signatories concur in filing this stipulation.
16
17   DATED: December 1, 2023                               /s/ Lauren A. Dean
                                                           Lauren A. Dean
18
19
20                                                ORDER
21          PURSUANT TO STIPULATION, IT IS SO ORDERED. The earlier-filed civil action,
22   Case No. 4:22-cv-3031-HSG, shall serve as the lead case. The clerk is directed to
23   administratively close the later-filed civil actions, Case Nos. 4:23-cv-1566-HSG and 4:23-cv-
24   3895-HSG.
25
26
     DATED:       12/21/2023
27
                                                       The Honorable Haywood S. Gilliam, Jr.
28                                                     United States District Judge
     _____________________________________________________________________________________________
                         STIPULATION AND ORDER AS MODIFIED CONSOLIDATING RELATED
                   SHAREHOLDER DERIVATIVE ACTIONS AND APPOINTING CO-LEAD COUNSEL
                                           CASE NOS. 4:22-cv-3031-HSG, 4:23-cv-01566-HSG
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